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8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
10    IGNACIO VERA,                              CASE NO. 2:21-CV-06577 AB (JDEX)
11                    Plaintiff,                 ORDER DISMISSING CIVIL ACTION
12    v.
13
      14400 ARMINTA ST., LLC; and
14    DOES 1 to 10,

15                    Defendants.
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17         THE COURT has been advised that this action has been settled.
18         The Court therefore ORDERS that this action is hereby DISMISSED without
19   costs and without prejudice to the right, upon good cause shown within 30 days, to re-
20   open the action if settlement is not consummated. This Court retains full jurisdiction
21   over this action and this Order shall not prejudice any party to this action.
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23   Dated: November 17, 2021                _______________________________
24                                           ANDRÉ BIROTTE JR.
                                             UNITED STATES DISTRICT JUDGE
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